Case 8:19-cv-00423-WFJ-SPF Document 44-1 Filed 05/24/19 Page 1 of 5 PagelD 767

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CHRISTOPHER MARK PARIS, and,
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs, Case No. 8:19-cv-00423
VS.

WILLIAM LEVINSON,

LEVINSON PRODUCTIVITY
SYSTEM, PC, a Pennsylvania
Corporation, MARC TIMOTHY
SMITH, individually, and d/b/a
CAYMAN BUSINESS SYSTEMS,
GUBERMAN PMC, a Connecticut
Corporation, DARYL GUBERMAN,
an individual, DONAL LABELLE, an
individual

Defendants.

 

AFFIDAVIT OF WILLIAM LEVINSON, IN SUPPORT OF REPLY TO
PLAINTIFF’S RESPONSE TO MOTION TO DISMISS

BEFORE ME personally appeared, the Defendant, WILLIAM LEVINSON, on behalf of the
Defendant, LEVINSON PRODUCTIVITY SYSTEMS, PC, who after being duly sworn,
deposed and says:

1. My name is WILLIAM LEVINSON, and | am over the age of 21 and otherwise sui Juris.

tN

[ have personal knowledge of the facts contained in this Affidavit.

2

. I am the President of the Defendant, LEVINSON PRODUCTIVITY SYSTEMS, PC and
have held that position since 2001.
4. I do not own, hold, or possess any licenses to do business in the State of Florida.

5. Ido not operate, conduct, engage in, or carry on business operations in the State of Florida.

Paris v. Levinson, et.al.

Case No.: 8:19-cv-0423 [jPage

 
Case 8:19-cv-00423-WFJ-SPF Document 44-1 Filed 05/24/19 Page 2 of 5 PagelD 768

6. I do not maintain any employees, business agents or corporate personnel in the State of
Florida nor do J own, operate, nor maintain, any offices or facilities in the State of Florida.

7. I do not target advertisements nor other marketing efforts to the State of Florida nor do I
specifically offer products or services for sale over the internet or other digital media
targeting potential customers in the State of Florida.

8. On April 18, 2019, I was contacted by Mario Vittone, and behalf of Lifesaving Systems
Corp. claiming to have found me through prior articles on the Quality Digest website,
inquiring as to whether I could provide professional “assistance” to them. The 813 area code
contact information made me suspicious that this was a “set-up”, possibly perpetrated by the
Plaintiffs to support false claims that LPS or myself were engaged in business in Florida. I
was then able to determine that Lifesaving Systems Corp., is a Florida customer of the
Plaintiffs, in Hillsborough County, Florida. Neither I nor LPS engaged in any business
transaction with that entity or individual. See attachment consisting of the email
correspondence from Lifesaving Systems from April 18, 2019.

9. On April 25, 2019, The Plaintiff, OXEBRIDGE QUALITY RESOURCES, LLC., attempted
to purchase a “training package” from LPS using an automated online system. This order was
rejected, the charges were refunded, the transaction cancelled, and no delivery of products or
services was ever made to Florida. See attachment consisting of the Paypal Transaction
Details for April 25, 2019.

10. Neither I, nor LPS, have ever done business with either of the Plaintiffs and the attempted
transaction by the Plaintiff, OXEBRIDGE QUALITY RESOURCES, LLC., is the first ever

to my knowledge.

Paris vy. Levinson, et.al.
Case No.: 8:19-cv-0423 2|Page
Case 8:19-cv-00423-WFJ-SPF Document 44-1 Filed 05/24/19 Page 3 0f5 PagelD 769 ~~

Vit Co, Ber,
William Levinson

BEFORE ME, the undersigned authority, William Levinson, personally appeared, who is
personally known to me, or who provided proper identification and who, upon being first duly
swom according to law, deposes and says that he executed the foregoing Affidavit and it is true
and correct to the best of his knowledge and belief.

IN WITNESS WHEREOF, I have hereunto set my hand and affix the seal of my office in
the County and State last aforementioned this G44). day of M ax , 2019,

 

STATE OF PENNSYLVANIA __)
COUNTY OF ] Wyzerne )

“Rabain Vrcwdsre beh

NOTARY PUBLIC, State of Pennsylvania ;
Printed Name:

Commission Number:
Commission Expires:

 

Commonwealth of Pennsytvanig.
RALPH KONDERCHEK, Notary Pua!
; Columbia County
My Commission Expires December 05 2020
Commission Number 1302364

 

 

 

Paris v. Levinson, et.al. Pave
Case No.: 8:19-ev-0423 3j{Page
Case 8:19-cv-00423-WFJ-SPF Document 44-1 Filed 05/24/19 Page 4 of 5 PagelD 770

From: Mario Vittone [mailto:m.vittone@lifesavingsystems.com]
Sent: Thursday, April 18, 2019 10:17 AM

To: theboss@ct-yankee.com
Subject: ISO0-9001 / Lean Manufacturing

Mr. Levinson:

I ran across some of your articles on the Quality Digest website. My company manufactures
rescue equipment for the U.S. Military (and others around the world).

While we have not had escapes to customers - my rework / non-conforming materials rates are,
well, ridiculous. Our QA team catches them, but I'm thinking I need some outside opinions on
where the cause of my rework rates might be.

Anyway, we are good, but we aren't lean. I think I'm losing about 400K per year to rework and
inefficiencies. Can your firm assist?

Mario Vittone

General Manager

Lifesaving Systems Corp.

Ph: 813-645-2748 Ext. 213
ISO 9001 / AS9100
m.vittone@lifesavingsystems.com

Order online at:
www.LifesavingSystems.com

This message (including any attachments) may contain confidential, proprietary, privileged and/or private
information. All technical drawings are the exclusive property of Lifesaving Systems Corp. and as such
may not be forwarded, copied , or stored without written permission from Lifesaving Systems Corp. The
information is intended to be for the use of the individual or entity designated above. If you are not the
intended recipient of this message, please notify the sender immediately, and delete the message and
any attachments. Any disclosure, reproduction, distribution or other use of this message or any
attachments by an individual or entity other than the intended recipient is prohibited.
Case 8:19-cv-00423-WFJ-SPF Document 44-1 Filed 05/24/19 Page 5 of 5 PagelD 771

Oxebridge Quality
Resources
@oxebridge

Home

Reviews

 

 

[ Public Posts at Oxebridge Quatity Resources J
_ Oxebridge Quality Resources was mentioned in a post.

Lifesaving Systems Corp.

Be Sepemper 4, 2017 .@

Quality matters: We've upgraded our quality cert to AS 9100 D. Thanks
Kevin and also Chris at Oxebridge Quality Resources

ADVANTAGE =
INTERNATIONAL REGISTRAR

AS 9100 D/1SO $001:2015
CERTIFICATE OF REGISTRATION

 

This is to cortify that
LIFESAVING SYSTEMS CORP.

220 Elsherry Rd
Apollo Beach, FL 33572 USA

having been audited In accordance with the requirements
of AS 9104/1 dated 2012-01, has successfully been assessed and
found to conform with the AS 9100 D and ISO 9001:2015
quality management system standards.

The scope of this registration Includes:

Design, development, manufscture, distribute, service and
repair of marine and aviation rescue and survival equipment

Date of Regstation September 23, 2017
Oats of Expraton: September 20, 2020

Oaste asveciesited - September 4, 2017
Regewed Sacer Decusher ll)

Secttcade ARIAS
Cetticedon Siruckse  Sangie ato

(AIO

Samreg Gurfoot, President
Aduactange therresonas Gegacrar. tre,

aeeanoiias

een DATE
CANON SF

1206 Kecxtnaner Orwe, Rateagh, Next Cospine 21588 UTA.
PORE tee 8 OM ALO CL TETRIS few Ak sete

aerncag reared hegerer, MA:
